               Case 1:21-cv-08636 Document 1 Filed 10/21/21 Page 1 of 4




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------X
ADAM GROSS,

                                   Plaintiff,

        -against-                                                 COMPLAINT

HSBC,                                                             Civil Action No.

                                    Defendant.
--------------------------------------------------------------X

        Plaintiff, Adam Gross, by his attorneys, Kaiser Saurborn & Mair, P.C., as and for his

complaint against the defendant, alleges as follows:

                                         PARTIES AND VENUE

        1.       Plaintiff, Adam Gross (“Gross”), was formerly employed by defendant in the

position of Managing Director.

        2.       Defendant, HSBC (“HSBC” or “defendant”), is a banking institution

headquartered in New York City.

        3.       This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 because

the claims asserted herein arise under the Federal Arbitration Act.

        4.       Venue is properly laid in this District pursuant to 28 U.S.C. § 1391 because it is a

District where plaintiff was employed by defendants and where the facts underlying his causes of

action occurred.

                                                        1
              Case 1:21-cv-08636 Document 1 Filed 10/21/21 Page 2 of 4




                                       BACKGROUND FACTS

                                                    I.

                                   MR. GROSS’ EMPLOYMENT

        5.        On September 11, 2020, Mr. Gross’ counsel delivered a letter to Jeanine L.

McHugh, Esq. detailing Mr. Gross’ legal claims asserting that Mr. Gross was retaliated against

because he objected to unlawful conduct that constituted investor fraud and federal securities

law violations.

        6.        The sending of counsel’s letter resulted in settlement negotiations that ultimately

resulted in a comprehensive resolution of the legal dispute.

        7.        The two principle terms of the settlement were: 1) a payment of settlement

compensation to Mr. Gross; and 2) HSBC’s agreement not to oppose an application by Mr.

Gross of expungement of his U-5 that contained a false explanation for his termination from

HSBC.

        8.        The false U-5 badly compromised Mr. Gross’ professional career.

        9.        On February 12, 2021 Mr. Gross filed a Statement of Claim with FINRA seeking

expungement of his U-5. [For a copy of filed Statement of Claim see Exhibit “A”]

        10.       In connection with that Statement of Claim, a FINRA hearing was held on

August 27, 2021.

        11.       At the hearing, HSBC offered no defense to Mr. Gross’ claims.

        12.       At the hearing, testified to the events that resulted in his termination including the

misconduct HSBC accused him of and why those charges were entirely false.

        13.       In particular, Mr. Gross testified that HSBC accused him of communication with

a particular prospective HSBC client utilizing unapproved applications. Mr. Gross



                                                    2
             Case 1:21-cv-08636 Document 1 Filed 10/21/21 Page 3 of 4




unambiguously testified that he at no time communicated with that particular person utilizing

unapproved application sand further, and in any event, did not discuss HSBC business with that

particular person on any occasion. [For a copy of a certified transcript created from a FINRA

audio recording of the hearing See Exhibit “B”]

       14.     Mr. Gross’ testimony that he violated no HSBC internal rules or policies was

plain, straightforward, and uncontradicted.

       15.     On September 3, 2021, in an entirely unexplained decision, FINRA ruled against

Mr. Gross and refused to expunge his U-5.

       16.     FINRA’s decision was arbitrary and capricious and entirely divorced from any

evidence presented at the hearing having no basis in fact or law.

       17.     FINRA’s decision has badly damaged Mr. Gross’ professional career by allowing

a false and defamatory reason for termination to remain on Mr. Gross’ U-5.

                                     CAUSE OF ACTION

       18.     Pursuant to Fed. R. Civ. P. 10(c), plaintiff repeats and realleges each and every

allegation contained in paragraphs “1” through “17” as if repeated and incorporated herein.

       19.     The FINRA panel acted in utter bad faith and arbitrary and capriciously by failing

to expunge Mr. Gross’ U-5.

       20.     As a consequence of the above, the FINRA panel should be enjoined and required

to expunge Plaintiff’s U-5.




                                                  3
             Case 1:21-cv-08636 Document 1 Filed 10/21/21 Page 4 of 4




     WHEREFORE, plaintiff hereby demands judgment against defendant as follows:

     (i)      An order enjoining the FINRA panel and ordering that Plaintiff’s U-5 be

              expunged of the false statements contained within his U-5;

     (ii)     Attorney’s fees; and

     (iii)    For such further relief as the Court deems just and proper.

Dated: New York, New York
       October 21, 2021

                                            KAISER SAURBORN & MAIR, P.C.
                                            Attorneys for plaintiff




                                     By:    _____________________________
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